        Case: 1:22-cv-00150-MRB-KLL Doc #: 10 Filed: 04/21/22 Page: 1 of 1 PAGEID #: 47




Granted.                           UNITED STATES DISTRICT COURT '                                         P" ' P
4:58 PM, Apr 20, 2022                                          for the                   •-P        i:     . .....aT
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                                                   Southern District of Ohio            •VEST DIV CIMOIKNA.TI

                                                          Western Division



                                                                         Case No.   l:22-cv-OOI5Q
                      Michael Leal
                        Plainlifffs)
                            -V-




                   Felicia Bedel, et a!.
                       Defendant(s)




                      DEFENDANT BedePS MOTION FOR EXTENSION OF TIME

Defendant Bedel respectfully moves the Court for an order extendingher time to answer the Complaint. She and her co-
defendants have been diligently working to raise funds to retain counsel for this matter. She expects to finalize an
engagement agreement within 30 days, and therefore requests an additional 60 days in which to respond to the
complaint.




                           10'_                                                                          4/15/2022
T                                                                                                        Date
Address 210 Carrington Lane Unit 311 Loveland, OH 45140
Phone number 513-635-0051
e-mail address    fl>edel05@hotmail.com




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